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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
In Re: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION
CIVIL ACTION NO.: 05-4182 (2)

JUDGE DUVAL, JR.
PERTAINS TO:
MAGISTRATE WILKINSON, JR.

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INSURANCE (Chehardy, No. 06-1672
C/W No. 06-1673
C/W Na. 06-1674)

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MOTION TO DISMISS WITH PREJUDICE

Plaintiffs, Larry and Glendy Forster respectfully request that their claims against
Great Northern Insurance Company and the erroneously sued Chubb Custom Insurance Company
be dismissed with prejudice. All other claims by all other plaintiffs asserted against all other

defendants are reserved.

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WHEREFORE, Larry and Glendy Forster pray that their claims against Great
Northern Insurance Company and the erroneously sued Chubb Custom Insurance Company be
dismissed with prejudice, specifically reserving all other claims by all other plaintiffs asserted

against all other defendants.

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( Respentiy submittqd,

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Attomeys for Plaintiffs, Larry and Glendy Forster

CERTIFICATE
{ hereby certify that a copy of the above and foregoing Motion to Dismiss With
Prejudice has been served upon all counsel of record by electronic mail, facsimile, and/or placing
same in the United States mail, postage prepaid and properly addressed this 6 day of

Aucus , 2008.

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